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                                 Attachment B-2

                Plaintiff’s General Voir Dire Questions to Jurors

                                          1.

      How many of you work or have worked in a management or supervisory

position?   Tell me about the position.

      As a manager or supervisor, did you ever have to discipline or fire an

      employee? If so, how did the employee react to the discipline?

      Are you aware of any incidents in the workplace in which an employee

      claimed that he had been treated unfairly? What was the outcome of the

      accusation?

      Are you aware of any incidents in the workplace in which an employee

      claimed that he had been discriminated against? What was the outcome?

      Would your experience as a manager or supervisor affect your ability to

      judge my client’s case fairly and impartially?

                                          2.

      Has any juror ever worked in the area of human resources? In your job, did

you have anything to do with employees’ complaints?      If you did, did you tend to

generally side with management or with the employee who brought the complaint?

Would you be able to set aside your experience and judge my client’s case fairly


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and impartially?    If you did not tend to agree more often with one side or the

other, how were you able to maintain your impartiality?

                                          3.

      Do you, any of your immediate family members or close friends work in the

legal profession? If so, what kind of work do they do? To your knowledge, have

they handled cases concerning discrimination in the workplace? If so, please

describe the matters.      As a result of what you know or have heard about

discrimination cases, would you be able to judge my client’s case fairly and

impartially?

                                          4.

      Have any of you attended law school or paralegal training program? If so,

please describe your course of study.     Would you be able to set aside what you

know about the law and follow the instructions given to you by the judge?

                                          5.

      Is any one among you acquainted with either or both of the defendant's

attorneys: Robert Godfrey and Cleora Anderson? If so, what is your relationship?

Would the relationship affect your ability to judge this case fairly and impartially?

                                          6.




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        Are any of you acquainted with the following persons who may appear as

witnesses for the City of Atlanta: (list witnesses from Attachment G-2).

Please describe your relationship with the witness. Would the relationship affect

your ability to judge this case fairly and impartially?

                                              7.

        Have any of you or any close friend or relative ever worked for the City of

Atlanta, Georgia?      If so, what job did you or the other person perform for the

City?    If you or that person no longer work for the City, could you please explain

why?      Based on what you know, do you have any opinion about how the City

treats its employees? Please describe that opinion.

                                              8.

        Has any juror been a party to a lawsuit? If so, what kind of suit? Were you

the plaintiff or the defendant in the suit?        As a result of your experience, did you

develop any opinions about the legal system? Could you describe those opinions?

                                              9.

        Has any juror ever been a witness in a lawsuit? If so, what kind of suit? As

a result of your experience, did you develop any opinions about the legal system

and lawyers? Could you describe those opinions.

                                              9.


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      Has any juror ever served on a jury before? Were you foreperson? Was it a

criminal or a civil case? What was the outcome of the case? As a result of your

experience, did you develop any opinions about the legal system, including

lawyers and litigants. Could you describe those opinions.

                                           10.

      Are any of you in favor of limiting the size of jury verdicts? If so, could you

tell me the reason for your opinion?

                                           11.

      Do any of you believe that people in this country are too quick to sue? Can

you tell me the reason for this opinion?

                                           12.

       Does any juror believe that an employee who has been fired from a job

should not be allowed to sue the employer over the firing?      Can you tell me the

reason for this opinion? Can you set aside this opinion and judge my client’s case

fairly and impartially?

                                           13.

      Have any of you heard of people filing lawsuits claiming that they have been

discriminated against on the job? Do any of you have opinions, positive or

negative, about these kinds of cases? Can you tell me the reason for your opinion?


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                                         14

      Have you or any of your close friends or relatives had any experience with

age discrimination in employment? Could you please describe that experience?

What did you or the other person do about it?

                                         15.

      How many of you plan to work past the age of 55? If you do, do any of you

believe that your ability to do your job will decline with age? If so, can you tell me

the reason for this belief?

                                         16.

      Do you think that a worker should be required to retire at a certain age? If

so, what age and why?

                                         17.

      How many of you are familiar with the Family and Medical Leave Act?

      For those of you who are familiar with the Family and Medical Leave Act,

do you think that the Family and Medical Leave Act is a good idea? Could you

explain why.

      Do any of you who are familiar with the Family and Medical Leave Act

think that is a bad idea? If so, why?




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        Has any juror, a close friend or family member taken leave under the Family

and Medical Leave Act? If so, did you return to work after the leave ended?

        Did the fact that you took Family and Medical Leave have a positive effect,

a negative effect, or no effect on your ability to do your job after you returned to

work?

                                          18.

        One of my client’s witnesses made a statement in the workplace that is a

negative slur towards homosexuals.         Would the fact that a witness made a

homophobic slur affect your ability to consider my client’s case fairly and

impairtially?

                                          19.

        Have any of you, a close friend or family member looked for a job in the

past two years? How did you or they go about looking for a job? Was the search

successful? Was it easy or difficult to find a job?

                                          20.

        Do you think that it is more difficult for a person to find a job as he or she

gets older? If so, what is the basis for your thoughts?

                                          21.



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      The judge will instruct you on the law to be applied in this case. Would any

one of you be unable to follow the judge's instruction if you disagreed with the

instructions?




                                        7
